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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

MICHAEL T. HAFFNER, as Trustee of the                  )
CHAUFFEURS, TEAMSTERS & HELPERS                        )
LOCAL UNION NO. 301 HEALTH &                           )
WELFARE FUND and as Trustee of the                     )
CHAUFFEURS, TEAMSTERS & HELPERS                        )     Case No.
LOCAL UNION NO. 301 PENSION FUND,                      )
                                                       )
                                   Plaintiffs,         )
       v.                                              )
                                                       )     Judge
V GUZMAN TRUCKING INC.,                                )
                                                       )
                                   Defendant.          )

                                         COMPLAINT


       Now come the Plaintiffs, Michael Haffner as Trustee of the Chauffer’s, Teamsters,

& Helpers Local Union No. 301 Health & Welfare Fund, et al., by their attorney, Nicholas

E. Kasmer of McGann, Ketterman, and Rioux, complaining of the Defendant, V Guzman

Trucking, Inc., and allege as follows:


        1.     This action arises under Section 502 of the Employee Retirement Income

Security Act, ERISA, 29 U.S.C. §1132, Section 301(a) of the Labor Management Relations

Act of 1947, as amended 29 U.S.C. § 185(a) and the Illinois Wage Payment and

Collection Act. 820 ILCS 115/1, et seq, Jurisdiction is founded on the existence of

questions arising there under and 28 U.S.C. §1367.
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        2.    The Chauffer’s, Teamsters, & Helpers Local Union No. 301 Health &

Welfare Fund and Chauffer’s, Teamsters, & Helpers Local Union No. 301 Health &

Pension Fund ("Trust Funds") receive contributions from numerous employers

pursuant to Collective Bargaining Agreements between the employers and the

Chauffer’s, Teamsters, & Helpers Local Union No. 301, ("Union"), and therefore, are

multiemployer plans. (29 U.S.C. §1002). The Trust Funds are administered at 36990 N.

Green Bay Road, Waukegan, Illinois, and venue is proper in the Northern District of

Illinois.


        3.    V Guzman Trucking, Inc. is an employer engaged in an industry affecting

commerce which entered into agreements which require it to pay fringe benefit

contributions to the Trust Funds.


        4.    Delinquent employers are required to pay, in addition to the

amounts determined to be due, reasonable attorney fees, court costs, audit fees and

other reasonable costs incurred in the collection process.


        5.    V Guzman Trucking, Inc. must submit monthly reports listing the hours

worked by its covered employees ("contribution reports") and to make concurrent

payment of contributions to the Trust Funds based upon the hours worked by its

covered employees.


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        6.     The Defendant breached the Collective Bargaining Agreement and Trust

Agreements by failing to submit the contribution reports and paying the fringe benefit

contributions for the period August 2019 through present.


        7.     Plaintiffs have complied with all conditions precedent in bringing this

suit.


        8.     Plaintiffs have been required to employ the undersigned attorneys to

collect the monies that may be found to be due and owing from Defendants.


        9.     Defendants are obligated to pay the attorney fees and court costs

incurred by the Plaintiffs pursuant to the Collective Bargaining Agreements, the Trust

Agreements and/or 29 U.S.C. §1132(g)(2)(D).


        10.    Pursuant to the Collective Bargaining Agreements, the Trust Agreements

and/or 29 U.S.C. §1132(g)(2)(D), the Plaintiffs are entitled to interest on any monies

that may be found to be due and owing from the Defendants.


        11.    Pursuant to the Collective Bargaining Agreements, the Trust Agreements

and/or 29 U.S.C. §1132(g)(2)(D), Plaintiffs are entitled to an amount equal to the greater

of:


               a)    double interest on the unpaid contributions; or
               b)    interest plus liquidated damages provided for under
                     the Trust Agreements not in excess of 20% of amount
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                    that is due.

WHEREFORE, Plaintiffs pray:

      a)     That the Defendant be ordered to submit the contribution
             reports and pay contributions for the months August 2019
             through present.

      b)     That V Guzman Trucking, Inc. be ordered to pay liquidated
             damages pursuant to the Trust Agreements.

      c)     That V Guzman Trucking, Inc. be ordered to pay interest on
             the amount that is due pursuant to 29 U.S.C. §1132 (g)(2)(B).

      d)     That V Guzman Trucking, Inc. be ordered to pay interest or
             liquidated damages on the amount that is due pursuant to 29
             U.S.C. §1132 (g)(2)(C).

      e)     That V Guzman Trucking, Inc. be ordered to pay the
             reasonable attorney's fees and costs incurred by the Plaintiffs
             pursuant to the Trust Agreements and 29 U.S.C. §1132
             (g)(2)(D).

      f)     That Plaintiffs have such other and further relief as by the
             Court may be deemed just and equitable all at the Defendants'
             costs pursuant to 29 U.S.C. §1132(g)(2)(E).

                                        Respectfully Submitted,
                                        Attorneys for the Plaintiffs

                                       /s/ Nicholas E. Kasmer
                                       ________________________
                                       Nicholas E. Kasmer
Nicholas E. Kasmer
Attorney for Plaintiffs
Whitfield McGann & Ketterman
111 East Wacker Drive, Suite 2600
Chicago, Illinois 60601

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